Case 3:20-cv-00547-MMH-MCR Document 97 Filed 07/07/23 Page 1 of 2 PageID 440




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


    JAWANDA DOVE,

                Plaintiff,

    v.                                         Case No. 3:20-cv-547-MMH-MCR

    FLAGLER COUNTY SCHOOL
    BOARD,

                Defendant.


                                 NOTICE OF HEARING

          PLEASE TAKE NOTICE that the above styled cause is scheduled for a

    status conference on TUESDAY, JULY 18, 2023, at 1:30 P.M., before the

    Honorable Marcia Morales Howard, United States District Judge.

          The hearing will be held by video teleconferencing using Zoom.       The

    Courtroom Deputy Clerk will separately send participants an Outlook

    invitation with the link, meeting ID, and password. Information on how others

    can observe the proceeding can be found on the Court’s website,

    https://www.flmd.uscourts.gov/coronavirus-and-email-filing-information.

          Participants should dress in appropriate court attire and appear in front

    of an appropriate professional background. All persons are hereby reminded

    that pursuant to Local Rule 5.01, United States District Court, Middle District
Case 3:20-cv-00547-MMH-MCR Document 97 Filed 07/07/23 Page 2 of 2 PageID 441




    of Florida, “[n]o one may broadcast, televise, record, or photograph a judicial

    proceeding, including a proceeding by telephone or video.” Violation of these

    prohibitions may result in sanctions, including removal of court issued media

    credentials, restricted entry to future hearings, denial of entry to future

    hearings, or any other sanctions deemed necessary by the Court.

    DATE: July 7, 2023

                                                          FOR THE COURT:

                                                          By: s/ Jodi L. Wiles
                                                              Deputy Clerk


    ja
    Copies to:
    Counsel of Record




                                         -2-
